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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Western Divisioo

        
  

 
 

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W#`l)' C'r §n, lilEith'rilS
-vs- Case No. 2:04cr20403-B
RoN REED

 

ORDER OF DETENT|ON PENDING TRlAL
F|ND|NGS
In accordance with the Bail Reform Act, 18 U.S.C. § 3142(£), a detention hearing Was not
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

D|RECT|ONS REGARD|NG DETENT|ON

RON REED is committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. RON REED shall be afforded a reasonable opportunity for private consultation
with defense counsel On order of a Court of the United States or on request of an attorney for the government, the
person in charge of the corrections facility shall deliver the Defendant to the United States marshal for the purpose of
an appearance in connection with a Court proceeding

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

Tnis document entered on the docket sheet in compliance
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Notice of Distribution

This notice confirms a copy of the document docketed as number 61 in
case 2:04-CR-20403 Was distributed by faX, mail, or direct printing on
July 5, 2005 to the parties listed.

 

E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

